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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                     WACO DIVISON

    LATINOS FOR TRUMP, BLACKS                          §
    FOR TRUMP, JOSHUA MACIAS,                          §
    M.S., B.G., J.B., J.J.,                            §
                                                       §
         Plaintiffs.                                   §
                                                       §
                                                       §
    v.                                                 §       CIVIL ACTION NO. 6:21-CV-43
                                                       §
    PETE SESSIONS, MITCH                               §
    McCONNELL, NANCY PELOSI,                           §
    MARK ZUCKERBERG, CHUCK                             §
    SCHUMER, ALEXANDRIA                                §
    OCASIO-CORTEZ, BRAD                                §
    RAFFENSPERGER, ALL                                 §
    MEMBERS OF THE 117TH U.S.                          §
    CONGRESS, et al.,                                  §       JURY TRIAL REQUESTED

         Defendants.

         PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT
              AND APPLICATION FOR INJUNCTIVE RELIEF

         COME NOW, Latinos for Trump, Blacks for Trump, Joshua Macias, M.S., B.G.,

J.B., J.J., et al. (collectively, “Plaintiffs”), by and through their attorneys, Paul M.

Davis, and Kellye SoRelle, for themselves and as members of putative classes of

injured parties, and respectfully represent the following to this Honorable Court:

                                                  I.
                                            INTRODUCTION

         1.      This Lawsuit is about how both state and federal officials acted together

as both “Democrats” and “Republicans” and as part of a “well-funded cabal”1 and


1
 Molly Ball, The Secret History of the Shadow Campaign That Saved the 2020 Election, TIME (Feb. 4, 2021), p. 6,
attached hereto at Exhibit 1 and available at https://time.com/5936036/secret-2020-election-campaign.


                                                           1
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“conspiracy”2 with various private persons, including persons in the news media,

social media, and technology industry, high net worth individuals, and others, to

willfully deprive the American People of their “most precious” and fundamental right:

the right to the “Republican Form of Government” guaranteed by Article IV, Section

4 (the “Guarantee Clause”) of the Constitution of the United States and other

fundamental civil rights.

       a. Supreme Court explains the guarantee to the people of “Republican
          Form of Government” in the Constitution.

           2.       In an 1891 opinion affirming this most honorable and storied Western

District of Texas, the Supreme Court concluded: “By the constitution, a republican

form of government is guarantied3 to every state in the Union, and the

distinguishing feature of that form is the right of the people to choose their

own officers for governmental administration, and pass their own laws in virtue

of the legislative power reposed in representative bodies, whose legitimate acts

may be said to be those of the people themselves; but while the people are thus

the source of political power, their governments, national and state, have been limited

by written constitutions, and they have themselves thereby set bounds to their own

power, as against the sudden impulses of mere majorities.” Duncan v. McCall,

139 U.S. 449, 461 (1891) (emphasis added).

           3.       It is truly ironic that the Duncan case originated in the Western District

of Texas.          The Supreme Court’s most robust explanation, in Duncan, of the



2
    Id.
3
    An alternate, more archaic spelling of the word.


                                                       2
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Constitution’s Guarantee Clause, which reads, “The United States shall guarantee

to every State in this Union a Republican Form of Government,”4 captures the very

essence of Plaintiffs’ action before this Court. At its core, Plaintiffs’ cause of action is

very simple: the acts of Defendants described herein have both the result and the aim

of depriving Plaintiffs of their most fundamental right, the right to a republican form

of government, which is government “deriving their just powers from the consent of

the governed,”5 a government “of the people, by the people, and for the people.”6

Plaintiffs’ come before this Court because, as demonstrated herein, Defendants have

stripped them of this most sacred of human rights and other fundamental rights.

        4.       Considering that one of the most renown opinions to come out of the

Western District of Texas was a minority voting rights case striking down the Texas

poll tax, it is almost as if the Western District of Texas were destined to enter the

relief requested in this lawsuit. In United States v. Texas, the Court opined, “the

right to vote” is “our most precious right . . . the essence of a democratic society.”

United States v. State of Tex., 252 F. Supp. 234, 250–51 (W.D. Tex.), aff'd sub nom.

Texas v. United States, 384 U.S. 155 (1966). By this complaint, Plaintiffs request that

the Court preserve our “Republican Form of Government” and the “democratic

society” on which it stands.




4
  U.S. CONST. art. IV, § 4.
5
  The Declaration of Independence para. 2 (U.S. 1776).
6
  Abraham Lincoln, The Gettysburg Address para. 3 (Nov. 19, 1863).


                                                       3
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       b. “Sudden impulses of mere majorities.”

           5.       The terms “democracy” and republic,” are often used interchangeably.

In fact, they are not interchangeable. Black’s Law Dictionary gives the following

definition for republic:

                A system of government in which the people hold sovereign power
                and elect representatives who exercise that power. • It contrasts
                on the one hand with a pure democracy, in which the people or
                community as an organized whole wield the sovereign power of
                government, and on the other with the rule of one person (such as
                a king or dictator) or of an elite group (such as an oligarchy,
                aristocracy, or junta).

REPUBLIC, Black's Law Dictionary (11th ed. 2019).                                        The “pure democracy,”

described in this definition, inevitably results in the tyranny of “mere majorities”

described by the Supreme Court in Duncan. See 139 U.S. at 461 (“limited by written

constitutions . . . as against the sudden impulses of mere majorities”). Under a

“democracy,” even a razor thin 51% ideological majority can quickly descend into

oppressive government persecution of the 49% minority. As we have seen throughout

history, it is human nature to control and subjugate the “minority.” This is why the

framers of the Constitution created a “republic” with checks and balances to avoid a

situation in which a mere 51% majority runs roughshod over the rights of the

minority based on their “sudden impulses.”

           6.       Democrats currently hold a literal 51% majority7 in the House of

Representatives, a “50 plus one”8 advantage in the Senate, and, having “won” a

presidential Electoral College vote in which the “popular vote,” as officially reported,


7
    222 out of 435 total seats is exactly 51%.
8
    With Kamala Harris, as “President of the Senate,” acting as the tie-breaking vote.


                                                            4
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came to 51.3% for Joe Biden,9 hold the Executive Branch with razor-thin popular

support. Despite appearing to take both Congress and the Presidency with a mere

51% “majority,” the Democrats have already enacted dramatic and sweeping policy

changes through “Executive Orders”10 and stand ready to pass essentially permanent

changes to the laws of the United States through legislation, 11 which they may likely

force through via the “nuclear option” of elimination of the Senate “filibuster.”

        7.      Certainly, such a situation is itself cause for alarm as it gives the distinct

appearance that our Nation has reached the exact situation warned of in Duncan

where a “mere majority” is poised to cram down their “sudden impulses” on the 49%

“minority.”      However, the current situation is actually infinitely worse than it

appears.

    c. Molly Ball of TIME lays out how Defendants deprived Plaintiffs of
       their right to a “Republican Form of Government.”

        8.         A conspiracy to deprive Americans of the republican form of

government, a form of government that has existed (albeit to an ever-diminishing

extent) since the Constitution of the United States went into effect in March of 1789,

would obviously need to be well-funded, with many moving parts and actors in

powerful places, and would need to be secret, since an overwhelming majority of

Americans, presumably, still strongly believe in government “of the people, by the

people, and for the people.”              Describing such a conspiracy to the Court is a



9
  2020 National Popular Vote Tracker, THE COOK POLITICAL REPORT, available at https://cookpolitical.com/2020-
national-popular-vote-tracker.
10
   See Temporary Restraining Order (Doc. 10-1 “Alternate Proposed TRO”), pp. 4–5.
11
   See Memorandum to Support Entry of Alternative Temporary Restraining Order (Doc. 10), ¶¶ 3–9 and footnotes.


                                                      5
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monumentally difficult task in a time where any attempt to contravene the prevailing

narrative in popular news media and on social media is immediately dismissed as a

“conspiracy theory” and its progenitors labeled as “crackpots.”12

           9.       Fortunately, in what is nothing short of a godsend to Plaintiffs, Molly

Ball of TIME and other TIME reporters credited in Secret History, essentially did

most of Plaintiffs’ work for them. In an article dated February 4, 2021, Ms. Ball

conveniently, and in detailed fashion, laid out The Secret History of the Shadow

Campaign That Saved the 2020 Election (the “Secret History”). See Exhibit 1. In

her Secret History, Ball describes the “conspiracy to save the 2020 election” as

something its participants want told:

                 That’s why the participants want the secret history of the 2020
                 election told, even though it sounds like a paranoid fever dream—
                 a well-funded cabal of powerful people, ranging across industries
                 and ideologies, working together behind the scenes to influence
                 perceptions, change rules and laws, steer media coverage and
                 control the flow of information. They were not rigging the
                 election; they were fortifying it. And they believe the public needs
                 to understand the system’s fragility in order to ensure that
                 democracy in America endures.

Id., p. 6 (emphasis added). Of course, Ball inserts the last sentence as a thinly-veiled

attempt to whitewash Defendants’ conspiracy as an effort “to ensure that democracy

in America endures.” However, the apparent goal of the “conspiracy,” as described in

the article’s opening paragraphs, was “Trump’s ouster.” Id. at p. 1.

           10.      Plaintiffs could likely state their entire claims upon which relief could

be granted by merely cutting and pasting only the Secret History in its entirety into



12
     Which is indeed part of the strategy.


                                                  6
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the factual allegations section and omitting the “whitewashing” statements about

“protecting democracy.” Indeed, this entire section of the First Amended Complaint

is intended, not only as an introduction, but also as factual allegations and Plaintiffs’

hereby incorporate this entire section by reference into the Statement of Fact below

as though fully set forth therein. Despite media coverage to the contrary,13 as stated

at the outset in the Original Complaint (Doc. 1), this Lawsuit is not about changing

the “declared winner” of the “2020 Presential Election.”

     d. Secret History reveals how the 2020 Federal Election had little to do
        with the “will of the people.”

        11.      Rather, this Lawsuit is about remedying Plaintiffs’ constitutional rights

to “choose their own officers for governmental administration”14—to elect their

representatives to government. Secret History gives a shocking detailed account

about how the 2020 Federal Election had almost nothing to do with the “will of the

people.”15 Instead, it had everything to do with a power struggle between a “well-

funded cabal of powerful people” (the “Cabal”)16 and President Donald Trump, based

apparently, on who had the best method of manipulating the election process in

violation of the law and the constitutional rights of the American People.

        12.      Indeed, it is difficult to decide on the most appallingly horrific paragraph

from Secret History that sums up Defendants’ nefarious conspiracy, but the following




13
   See Memorandum to Support Entry of Alternative Temporary Restraining Order (Doc. 10), ¶ 1.
14
   Duncan, 139 U.S. at 461.
15
   Secret History at p. 26.
16
   The term Cabal is intended at all times to be used to include Defendants named herein as well, all of whom were
participants in the conspiracy described in Secret History.


                                                        7
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paragraph is about as good as any. In depicting a truly disturbing “battle”17 between

the Cabal and Trump, where the two camps try to outmaneuver each other to

influence certification of the Michigan vote, Secret History states the following:

                 The pro-democracy forces were up against a Trumpified Michigan
                 GOP controlled by allies of Ronna McDaniel, the Republican
                 National Committee chair, and Betsy DeVos, the former
                 Education Secretary and a member of a billionaire family of GOP
                 donors. On a call with his team on Nov. 18, Bassin18 vented that
                 his side’s pressure was no match for what Trump could offer. “Of
                 course he’s going to try to offer them something,” Bassin recalls
                 thinking. “Head of the Space Force! Ambassador to wherever! We
                 can’t compete with that by offering carrots. We need a stick.”

Secrete History, p. 23.

           13.      The most nauseating aspect of Secret History is that Ms. Ball is actually

bragging about the efforts of these shadowy characters, acting behind the scenes to

manipulate the election outcome, as heroic. Ball, an obvious sycophant, if not an

outright member of, the Cabal, casts the Cabal, which she further described as an

“informal alliance between left-wing activists and business titans,” as the

protagonists of her epic poem because, of course, they opposed the wicked villain,

Donald Trump.

           14.      What is conspicuously missing from her account, however, is any

apparent concern for the actual will of American voters. Ball gives lip service to it, of

course. It would defeat the purpose of the Cabal to fully give it away. But the lack

of concern (or possibly outright disdain) for the will of American voters is belied

throughout the article. The “concern for democracy” is actually expressed as grave


17
     Id. at 20 (“ But the battle wasn’t over.”).
18
     Ian Bassin, Co-founder of “Protect Democracy,” a group included in Secret History as part of the “Cabal.”


                                                           8
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concern that voters would, in fact, do the unthinkable and cast a vote for Donald J.

Trump.

     e. Secret History reveals that the “concern for democracy” was, in fact,
        a concern regarding for whom Americans would vote.

        15.      Mike Podhorzer, whom Ball describes as “The Architect,” allegedly

orchestrated the entire conspiracy out of a concern that support for Donald Trump

had cut into the Democrat’s traditional grip on the voting bloc of “blue collar white

voters” who comprise much of the membership in the well-known Democrat

stronghold, the AFL-CIO. Id. at p. 7. So, “[h]e began circulating weekly number-

crunching memos to a small circle of allies and hosting strategy sessions in D.C.”

According to Ball, everything apparently grew from there. In other words, the entire

original purpose of the Cabal was to make sure that traditional Democrat voters

did not defect from the ranks to vote for a populist19 candidate, Donald Trump.

        16.      Secret History is written in language to give the appearance that the

Cabal acted out of some grave concern for “democracy,” when in fact it reveals the

exact opposite. The Cabal carried out their conspiracy out of fear that people would

actually vote for Donald Trump. This much is abundantly clear in several additional

statements made throughout Secret History.                          On page 15, Ball reports that

Podhorzer, in organizing the Cabal, “was warning everyone he knew that polls were

underestimating Trump’s support.” On page 19, it describes the Democrat “despair”

on election night that “Trump was running ahead of pre-election polling, winning



19
  See, e.g., Noah Bierman, Even if Trump loses, Trumpism may outlast him, THE LOS ANGELES TIMES (Oct. 23, 2020)
available at https://www.latimes.com/politics/story/2020-10-23/even-if-trump-loses-trumpism-may-outlast-him


                                                        9
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Florida, Ohio, and Texas easily and keeping Michigan, Wisconsin and Pennsylvania

too close to call.” However, Podhorzer, “was unperturbed” because the “surge” in

Trump’s support was exactly what he had planned for. Id. at p. 19. Apparently, the

Cabal had already made sure the fix was in to thwart the will of anyone who voted in

a way that “business titans” (specifically including those in the “U.S. Chamber of

Commerce”), the “AFL-CIO,” “left-wing activists,” their allies in the news media,

social media, and technology industries, and federal, state, and local level officials (all

included in Secret History as members of the “Cabal”) did not like.

   f. Secret History essentially states Plaintiffs’ causes of action for them.

       17.    As stated at the outset in the Original Complaint, this Lawsuit does not

address “election fraud.” Likely, evidence of election fraud may be brought forth in

the course of the Lawsuit to show intent of the Defendants or bolster other elements,

but such evidence is not necessary for Plaintiffs to prevail on their claims. Rather

this lawsuit is about how, to carry out their conspiracy to deprive Plaintiffs of their

constitutional rights, Defendants altered the rules and procedures of the 2020

Federal Elections in all 50 states, and including Guam, Puerto Rico, and the District

of Columbia (collectively, with the 50 States, the “Voting Districts”) in a manner that

severely and pervasively violated the election integrity safeguards enacted by

Congress in the Help America Vote Act of 2002, as amended, 52 U.S.C. §§ 20901–

21145 (“HAVA”) and Section 301–302 of the Civil Rights Act of 1906, 52 U.S.C. §

20701–02 (the “1960 CRA”) (collectively, HAVA and the 1960 CRA, the “Election

Integrity Safeguards”).




                                            10
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      18.    Secret History discusses this conspiracy to violate these Election

Integrity Safeguards, starting on page 10 under the subheading “Securing the Vote.”

One particularly disturbing, yet telling paragraph in the article comes earlier where,

after Ball discusses Podhorzer’s attempts to expand his Cabal by finding “liberals who

saw Trump as a dangerous dictator,” she credits Podhorzer with concluding:

“America’s decentralized election system couldn’t be rigged in one fell swoop. That

presented an opportunity to shore it up.” The attempt to “shore it up,” however, was

actually the scheme to violate the Election Integrity Safeguards, primarily through

the expansion of mail-in or absentee voting (collectively, “Mail-In Voting”). Secret

History, pp. 10–12.

      19.    Of course, the Cabal, composed in large part, of the Defendants in this

lawsuit, needed funding to violate the Election Integrity Safeguards, $400 million of

which they received from Congress in the CARES Act, and $300 million of which they

received from Defendant Mark Zuckerberg’s Chan Zuckerberg Initiative. Amber

McReynolds’s “National Vote at Home Institute, then provided the state and local

level officials, including the Defendants who are Secretaries of State, all the

“technical advice” they needed to apply the funds. The Cabal enabled state and local

officials to “bolster” mail-in voting in “37 states and D.C.” Despite lawsuits “brought

by the Trump campaign to sow doubt about mail voting,” the Cabal was able to

achieve an incredible feat: “In the end, nearly half the electorate cast ballots by mail

in 2020, practically a revolution of how people vote. About a quarter voted early in




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person. Only a quarter of voters cast their ballots the traditional way: in person on

Election Day.”

            20.      What is fascinating about the intense focus on Mail-In Voting by the

Cabal/Defendants, composed of a “constellation of operatives across the left”, a

“progressive movement” that apparently also contained many “bipartisan” actors

from the Republican side,20 is that, prior to 2020, Mail-In Voting had been almost

universally condemned in America as an inherently unsecure method of voting.

            21.      In fact, former President Jimmy Carter and former Secretary of State,

Jim Baker, released a bi-partisan report in 2005 entitled “Building Confidence in U.S.

Elections,” which made the following conclusions:

                  Fraud occurs in several ways. Absentee ballots remain the largest
                  source of potential voter fraud. A notorious recent case of
                  absentee ballot fraud was Miami’s mayoral election of 1998, and
                  in that case, the judge declared the election fraudulent and called
                  for a new election. Absentee balloting is vulnerable to abuse in
                  several ways: Blank ballots mailed to the wrong address or to
                  large residential buildings might get intercepted. Citizens who
                  vote at home, at nursing homes, at the workplace, or in church
                  are more susceptible to pressure, overt and subtle, or to
                  intimidation. Vote buying schemes are far more difficult to detect
                  when citizens vote by mail. States therefore should reduce the
                  risks of fraud and abuse in absentee voting by prohibiting “third-
                  party” organizations, candidates, and political party activists
                  from handling absentee ballots. States also should make sure that
                  absentee ballots received by election officials before Election Day
                  are kept secure until they are opened and counted.

REPORT OF THE COMMISSION ON FEDERAL ELECTION REFORM, BUILDING CONFIDENCE

IN U.S. ELECTIONS (2005), p. 46 (the “Carter-Baker Report”). Not surprisingly, but


eerily in keeping with the apparent vast reach of the Cabal to “control the flow of


20
     Secret History, pp. 4, 7


                                                  12
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information,”21 this Report has mysteriously disappeared from the website of

American University’s Center for Democracy (AUCD) and Election Management,

which facilitated the Commission and was the internet home of the Report until, very

recently, as indicated by various internet searches for the document, leading to the

link that is now defunct.22 For the utterly disingenuous Cabal, it seems that actual

measures to enhance election integrity are part of the “disinformation” to be

“controlled.” Notably, even the New York Times reported on the inherent insecurity

risks of Mail-In Voting in 2012, and over 60% of European countries and many other

developed countries around the world ban the practice, except for citizens living

overseas.23

     g. The Court cannot dismiss the Lawsuit on the grounds articulated in
        the Show Cause Order.

         22.      On January 27, 2021, the Court entered its Show Cause Order (Doc. 11)

stating two grounds for dismissal of the Lawsuit. This section is a response to the

Show Cause Order, although a separate Response brief will be filed later this evening.

         23.      Of particular importance to this Lawsuit, is a paragraph from Secret

History that neatly wraps up the elements of Defendants’ conduct into the elements

necessary for a 42 U.S.C. § 1983 claim against both federal and private individuals:


               Their work [the Cabal, which includes Defendants] touched every
               aspect of the election. They got states [acting in concert with state
21
   Secret History, p. 29.
22
   Plaintiffs have, nonetheless, obtained a copy of the Report available for viewing.
23
   Adam Liptak, Error and Fraud at Issue as Absentee Voting Rises, THE NEW YORK TIMES, (Oct. 6, 2012), available at
https://www.nytimes.com/2012/10/07/us/politics/as-more-vote-by-mail-faulty-ballots-could-impact-
elections.html; Paul Bedard, Developed countries ‘ban’ mail-in voting, US would be ‘laughing stock’:Report,
WASHINGTON EXAMINER (Aug. 5, 2020) available at https://www.washingtonexaminer.com/washington-
secrets/developed-countries-ban-mail-in-voting-us-would-be-laughing-stock-report.


                                                         13
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          officials] to change voting systems and laws [in violation of the
          Election Integrity Safeguards] and helped secure hundreds of
          millions in public [including funding from Congress] and private
          funding. They fended off voter-suppression lawsuits [many of
          which lawsuits were intended to prevent violations of the Election
          Integrity Safeguards], recruited armies of poll workers and got
          millions of people to vote by mail for the first time. They
          successfully pressured social media companies to take a harder
          line against disinformation and used data-driven strategies to
          fight viral smears [which constitutes interference with Plaintiffs’
          First Amendment rights to free speech]. They executed national
          public-awareness campaigns that helped Americans understand
          how the vote count would unfold over days or weeks, preventing
          Trump’s conspiracy theories and false claims of victory from
          getting more traction [which was additional suppression of
          Plaintiffs’ First Amendment rights]. After Election Day, they
          monitored every pressure point to ensure that Trump could not
          overturn the result. “The untold story of the election is the
          thousands of people of both parties who accomplished the triumph
          of American democracy at its very foundation,” says Norm Eisen,
          a prominent lawyer and former Obama Administration official
          who recruited Republicans and Democrats to the board of the
          Voter Protection Program [thus demonstrating the concert of
          action between both Democrats and Republicans to carry out the
          conspiracy].

Secret History, pp. 3–4. This paragraph clearly and precisely states Plaintiffs’ claim

against Defendants under 42 U.S.C. § 1983 and other causes of action. It is truly

remarkable how conveniently Ms. Ball’s Secret History laid out a roadmap for

Plaintiffs’ allegations in support of their various causes of action in this Lawsuit and

for Plaintiffs’ response to the Show Cause Order (Doc. 10). Secret History also

prevents the media from attacking the Court for any relief granted supporting

Plaintiffs so-called “tin foil hat conspiracy theories,” as the media would surely have

attempted to do because Plaintiffs’ allegations now come straight from one of the most

well-respected and widely circulated publications, TIME.               It seems the




                                          14
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Defendants/conspirators/Cabal were so pleased with themselves, that they could not

help but announce their Secret History to the public, much like a terrorist

organization would proudly claim responsibility for some heinous act.

      24.     In its Show Cause Order (Doc. 10) the Court called for dismissal of this

Lawsuit on the grounds that § 1983 “does not apply to federal officers,” such as

members of the 117th U.S. Congress, citing a non-binding, general proposition from

the Tenth Circuit Court of Appeals. Contrary to the Court’s assertion, binding

Supreme Court and Fifth Circuit precedent clearly hold that, for purposes of § 1983,

acting “under color of law does not require that the accused be an officer of the state;”

rather, “[i]t is enough that he is a willful participant in joint activity with the State

or its agents.” United States v. Price, 383 U.S. 787, 795 (1966); Gomez v. Fla. State

Employment Serv., 417 F.2d 569, 578 (5th Cir. 1969); see also Kletschka v. Driver, 411

F.2d 436, 448–49 (2d Cir. 1969) (“We can see no reason why a joint conspiracy

between federal and state officials should not carry the same consequences under §

1983 as does joint action by state officials and private persons.”); accord Tongol v.

Usery, 575 F. Supp. 409, 415 (N.D. Cal. 1983), rev'd sub nom. on other grounds Tongol

v. Donovan, 762 F.2d 727 (9th Cir. 1985).

      25.    As will be even more fully alleged in the Statement of Facts below,

Secret History sets forth, in great detail, how private individuals solicited federal

money from the 116th Congress, who then distributed the federal money to state and

local officials, who used the money, in joint activity with private persons, to violate

the Election Integrity Safeguards.     The 117th Congress overwhelmingly includes




                                           15
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members of the 116th Congress, and also includes private individuals who were willful

participants in the conspiracy when they ran for office and were elected with the help

of the conspirator Defendants, including state and local officials who acted to

unlawfully change state election procedures in violation of the Election Integrity

Safeguards. Indeed, it is a difficult to imagine a scenario of a more willful joint

conspiracy between federal and state officials who acted under the color of state law,

namely the state elections laws, regulations, and procedures to deprive Plaintiffs of

their constitutional civil rights.

        26.      Defendants’ nefarious conspiracy to willfully deprive Plaintiffs of both

their right to cast a lawful ballot in the 2020 Federal Elections and their right to not

having their ballot diluted by fake or fraudulent ballots (“Ballot Box Stuffing”)24 is

not only in violation of Plaintiffs’ substantive due process voting rights and equal

protection rights under the Fourteenth Amendment, but is a conspiracy to willfully

deprive Plaintiffs and all Americans of the right to the republican form of government

guaranteed in the Constitution.

        27.      Thus, the nature of Plaintiffs’ causes of action under § 1983 are not, as

the Court stated in the Show Cause Order, “a private right of action” or “declaratory

relief” under HAVA, though this was likely unclear in the wording of the Original

Complaint. Rather, Plaintiffs claims are for “deprivation of . . . rights, privileges, or

immunities secured by the Constitution.” 42 U.S.C. § 1983. The severe and pervasive




24
  The practice of diluting the votes of American citizens through the submission of ballots that are not submitted
from a Citizen of the United States who is eligible to vote is hereinafter referred to as “Ballot Box Stuffing.”


                                                        16
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violations of HAVA and the 1960 CRA25 in all 53 Voting Districts is merely evidence

that Plaintiffs constitutional rights have been violated to the fullest extent

imaginable in addition to the other factual allegations contained herein. Accordingly,

as will be more fully set forth the in Plaintiff’s Response to the Show Cause Order,

the HAVA cases cited in the Order are inapposite. The Election Integrity Safeguards

clearly and obviously exist to protect Plaintiffs constitutional rights related to

suffrage, but it is those constitutional rights themselves, not HAVA, under which

Plaintiffs bring their § 1983 claims.

        28.      Moreover, Defendants’ willful conspiracy included intentional and

severe interference with Plaintiffs’ First Amendment right to freedom of speech, right

to peaceable assembly, and right to petition the government for a redress of

grievances, as will be described further below, providing further grounds for relief

under § 1983. Plaintiffs also have causes of action against the federal officials, state

office, and private officials under 42 U.S.C. §§ 1981, 1985, and 1986, and directly

against federal officials as a Bivens claim. Accordingly, as will be more fully briefed

in the response, this case cannot be lawfully dismissed for all of the foregoing reasons

and those included in the forthcoming Response to the Show Cause Order.

        29.      In sum, Defendants’ vast conspiracy described in Secret History and

further set forth in the Statement of facts, was a willful conspiracy to deprive

Plaintiffs and all Americans of their fundamental constitutional rights, for which the

Election Integrity Safeguard were specifically intended to protect. The egregious


25
  Violations of the 1960 CRA were first asserted in the Memorandum to Support Entry of Alternative Temporary
Restraining Order (Doc. 10).


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result of the conspiracy is that the 117th Congress, the President, and Vice President

were elected and sworn into federal office in clear and willful violation of Plaintiffs’,

the Putative Class, and all Americans’ constitutional rights, most importantly the

right to a republican form of government.

   h. Conclusion to Introduction.

      30.    Accordingly, since the violations committed through Defendants’

conspiracy against Plaintiffs’ constitutional rights described herein were so severe

and pervasive that they resulted in an election that cannot now be audited to

determine the rightful winner, the only appropriate remedy is a new election

conducted pursuant to the Election Integrity Safeguards, and additional security

measures that should be imposed by the Court. The Court must ensure a new Federal

Election and enter temporary injunctive relief restraining the illegitimate Congress

and Executive Branch until a jury trial on the merits, so that all Americans can, once

again, be assured that “government of the people, by the people, and for the people,

shall not perish from the earth.”


                                        II.
                                      PARTIES

   A. Plaintiffs

      31.    Plaintiff, Joshua Macias is an individual residing in Virgina.

      32.    Plaintiffs, Latinos for Trumps, are an association-in-fact political

organization whose members are Latino and located throughout the United States;




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         33.      B.G.26 is the founder of Latinos for Trump and resides in Texas.

         34.      Plaintiffs, Blacks for Trump, are an association-in-fact political

organization whose members are Latino and located throughout the United States;

         35.      Plaintiff, M. S. founder of Latinos for Trump and resides in Florida.

         36.      Plaintiff, J.B. is a former Texas congressional candidate who was on the

federal ballot for a Congressional seat in the 117th Congress and who resides in Texas.

         37.      Plaintiff J.J. is an individual who resides in Alabama.

         38.      Plaintiff P.P. is an individual who resides in New York.

         39.      Plaintiff R.C. is an individual who resides in Texas.

         40.      Plaintiff T.L. is an individual who resides in Texas.

         41.      Plaintiff A.B. is an individual who resides in Texas.

         42.      Plaintiff R.R. is an individual who resides in Texas.

         43.      Plaintiff R.D. is an individual who resides in Texas.

         44.      Plaintiff H.H. is an individual who resides in Texas.

         45.      Plaintiff A.P. is an individual who resides in Texas.

         46.      Plaintiff J.G. is an individual who resides in Texas.

         47.      Plaintiff M.B. is an individual who resides in Texas.

         48.      Plaintiff E.R. is an individual who resides in Texas.

         49.      Plaintiff E.R.(2) is an individual who resides in Texas.

         50.      Plaintiff C.H. is an individual who resides in Texas.

         51.      Plaintiff I.M. is an individual who resides in Texas.


26
  Plaintiffs with initials are so named due to their reasonable fear of their personal safety if their identity is made
public as a result of this lawsuit.


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         52.     Plaintiff A.L. is an individual who resides in Texas.

         53.     Plaintiff C.S. is an individual who resides in Texas.

         54.     Plaintiff H.D. is an individual who resides in Texas.

         55.     Plaintiff M.T. is an individual who resides in Texas.

         56.     Plaintiff I.M. is an individual who resides in Texas.

         57.     Various other Plaintiffs will be added in a supplement to this Amended

Complaint to be filed.27

     B. Defendants

         58.     Defendant, Nancy Pelosi is and acted as an individual and in her official

capacity as the Speaker of the US House of Representatives who may be served with

process at 1236 Longworth H.O.B. Washington, DC 20515 or wherever she may be

found and is a resident of the State of California.

         59.     Defendant, Mitch McConnell is and acted as an individual and in his

official capacity a as a US Senator and Senate Majority Leader who may be served

with process at 317 Russell Senate Office Building Washington D.C or wherever he

may be found and is a resident of the State of Kentucky.

         60.     Defendant, Mark Zuckerberg is and acted as an individual and in his

capacity as founder of the Chan Zuckerberg Initiative located at 314 Lytton Ave Palo

Alto, Ca. 94301, where he may be served with process or wherever else he may be

found.



27
  None of the new Plaintiffs listed here are intended to be added as new “Parties” to the case for purposes of
compliance with ECF filing rules and/or the FRCP. These new Plaintiffs are merely intended at this stage to be
proposed Plaintiffs to be added at a later time.


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      61.    Defendant, Chuck Schumer, is and acted as an individual and in his

official capacity as a US Senator who may be served with process at 322 Hart Senate

Office Building Washington, D.C. 20510.

      62.    Defendant, Brad Raffensperger, is and acted as an individual and in his

official capacity as Georgia Secretary of State, may be served with process at 214

State Capitol Atlanta, Georgia 30334.

      63.    Plaintiff name, individually as Defendants all current and so-called

members of the 117th Congress of the United States (the “Congressional Defendants”),

including all members of both the U.S. House of Representatives and the U.S. Senate

who are individuals residing in the respective states they purport to represent and

may be served with process at their respective Washington D.C. and/or local state

offices at the addresses publicly provided via the following links or by virtue of other

publicly available sources or wherever they may be found:

       https://ballotpedia.org/List_of_current_members_of_the_U.S._Congress          and

      https://ballotpedia.org/List_of_current_members_of_the_U.S._Congress#U.S._

      Senate

      64.    The Congressional Defendants should be served with process in

accordance with Fed. R. Civ. P. 4(i) as Officers of the United States in their individual

and officials capacities. Since the District of Columbia is currently under lockdown

with thousands of National Guardsmen surrounding the Capitol, Plaintiffs will file a

motion shortly requesting service by special appointment pursuant to Rule 4(c)(3).




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       65.    Plaintiffs additionally names as Defendants, all the state governors and

secretaries of state listed in Exhibit 2 attached hereto (the “State Defendants”).

These individuals reside in the respective state listed above their names and may be

served with process at the addresses provide in Exhibit 2 or wherever they may be

found and/or as provided under their various states’ procedures for service of process.

       66.    Defendant Roger Sollenberger is an individual believed to be a resident

of Travis County, Texas and may have dual residence in Virgina. Mr. Sollenberger

may be served with process at the Salon.com office in 1287 Berry Pl, McLean, VA

22102 or wherever he may be found.

                                         III.
                               JURISDICTION AND VENUE

       67.    The Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this case arises under the Constitution and laws of the

United States. Furthermore, where, as here, deprivations of constitutional rights are

alleged, including a conspiracy to deprive or failure to prevent or render aid regarding

such deprivations, 28 U.S.C. § 1343 confers original subject matter jurisdiction on the

federal district courts.

       68.    The Court has personal jurisdiction over the federal elected officials and

private individuals named as Defendants because they acted as willful participants

in conspiracy with state or local officials under color of law. In so doing, they violated

the constitutional rights of Plaintiffs, many of whom live in Texas, and therefore

purposely availed themselves of or can reasonably anticipate being hailed into federal

court in the State of Texas.



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        69.     Venue is proper in this district because one or more of the Defendants

resides in this district and the district has a substantial connection to the claim, since

one or more of the Plaintiffs also reside in this district.

        70.     All conditions precedent to this action have occurred.

                                           IV.
                                    STATEMENT OF FACTS

        71.     Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein, including but not limited to, all of the factual

allegations referenced in Secret History and all other allegations contained in the

Introduction paragraphs 1–30.

     a. Allegations Based on the Export Report by John S. Vanderbol.

        72.     All factual allegations contained in the expert report by John S.

Vanderbol entitled “Global Risk Analysis: Special Report” (the “Vanderbol Report”)

attached hereto as Exhibit 3, are hereby incorporated by reference as though fully

set forth herein. The following allegations are based on the Vanderbol Report and

the research cited and conducted in preparation thereof.

        73.     In the spring of 2019, concerned citizens seeking to protect their civil

rights brought forth evidence and information to Defendants acting in partisan

enterprises28 regarding issues with election integrity and cybersecurity as well as

enforcement requirements in the HAVA.29




28
  The Vanderbol Report elaborates on the meaning of the term “partisan enterprises,” a term of art.
29
  Referencing the SAFE ACT and congressional record and other supporting documentation attached to the SAFE
ACT.


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         74.      On June 27th, 2019, the 116th House of Representatives sent to the

Senate, H.R. 2722 also known as the SAFE ACT, an act designed to protect the civil

rights of three hundred and twenty-eight million Americans.

         75.      Shortly after June 27, 2019, Congressional Defendants acting in a

partisan enterprise in abuse of their elected offices in the 116th Senate moved the

SAFE ACT to the rules and administration committee with the intent to “kill” the act

in committee in order to deprive three hundred and twenty-eight million Americans

civil rights.

         76.      Defendants Schumer, McConnell, Durbin, Blunt, Cruz, among other

Congressional Defendants, who were assigned to the Rules and Administration

Committee, purposefully and under color of law took action to “kill” the SAFE ACT

with the purpose to deny three hundred and twenty-eight million American people of

their lawful civil rights, including their most important right: the guarantee of a

republican form of government.30

         77.      On July 17th 2019, the 116th House of Representatives forwarded to the

Senate a “tax bill” that had no election protections or any component to protect the

civil rights of American citizens.                Shortly thereafter, Congressional Defendants,

participating in partisan enterprises, would corrupt this “tax” bill at the request of

conspiring State Defendants, as well as co-conspirators within the social media and

business communities, in order to deny the American citizens of a lawful and

constitutionally correct 2020 Federal Election.


30
  Denial of the right to a republican form of government in this section also includes deprivation of the substantive
due process rights and equal protection rights that related to suffrage.


                                                         24
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      78.    In early 2020, the conspiring defendants at the state level, including

high net worth individuals, engaged in the media and social media industries, as well

as regional operation of partisan enterprises, approached Defendants at the federal

level with a scheme to deny three hundred twenty-eight million Americans of their

civil rights through fraudulent usage of the covid-19 pandemic as a reason to alter

procedures and conduct of the 2020 Federal election in willful violation of the Election

Integrity Safeguards and state, local, and federal laws, policies, and procedures, such

purpose being to deny American citizens of their right to vote and to deprive

Americans their right to a republican form of government from that date and all

election dates forward.

      79.    In early 2020, co-conspiring State Defendants and others at the state

level, in concert with high net worth private individuals engaged in the media and

social media industries as well as regional operation of partisan enterprises,

approached Congressional Defendants at the federal level and sought from them 1.4

billion dollars in federal monies to execute their fraudulent schemes and deprive the

three hundred and twenty-eight million Americans of their civil rights.

      80.    In response to these afore-mentioned conspiring Defendants’ request for

1.4 billion dollars, the Congressional Defendants, acting willfully in concert with

other individuals acting in partisan enterprises, unlawfully caused the issuance of

400 million dollars in federal monies, with knowledge the monies would be used to

illegally deprive the American people of their constitutional rights.




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       81.      In mid 2020, the Chan Zuckerberg Initiative, a foundation headed by

Defendant Mark Zuckerberg, who had knowledge of the conspiring Defendants’

fraudulent scheme, chose to become a willful participant in the conspiracy by causing

Chan Zuckerberg to contribute 300 million dollars to the State Defendants and other

officials at the state lever for the purpose of depriving the American people of their

civil rights.

       82.      Plaintiff J.B. has provided evidence, statements, and testimony

regarding Defendant Chuck Schumer’s instruction to and conspiracy with Defendant

M.J. Hager to commit fraud and to deprive Americans of their constitutionally

protected rights.

       83.      Plaintiff J.B. provided evidence, statements, and testimony of

Defendant Hager directing, informing, briefing, controlling and directly managing,

on behalf of senior members of the partisan enterprises, including Defendant

Schumer, the conduct of conspiring Defendants, who acted as members of staff of

state election committees, staff of offices of secretaries of states, local partisan

operatives, and state partisan operatives in abuse of the offices and state-level

partisan election officials, who are responsible for administering the 2020 Federal

Elections in the various states.      Some of those persons received funds from

Zuckerberg Chan, while others received fraudulently obtained federal monies, as

disbursed by Congressional Defendants and other federal-level persons, who

orchestrated, funded, directed and managed, by third party, the partisan enterprise

schemes, to willfully deprive American citizens of their civil rights.




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        84.      Evidence provided by Plaintiffs, obtained from public sources, including

media and official records, as submitted into the evidentiary record, show the conduct

of willfully conspiring Defendants, who acted as members of staff of state election

committees, staff of offices of secretaries of states, local partisan operatives, state

partisan operatives in abuse of the offices and state-level partisan-engaged election

officials; some of those persons received funds from Zuckerberg Chan while others

received fraudulently obtained federal monies as disbursed by federal-level

Congressional Defendants, who orchestrated, funded, directed, and managed by third

party, the partisan enterprise schemes, to willfuly deprive American citizens of their

constitutional rights by actively moving to unlawfully change state election rules,

procedures, and policies in ways that violated the Help America Vote Act of 2002 and

violated the records retention requirements of the 1960 CRA.

     b. Allegations Based on the Export Report by Nate Cain regarding
        violations of the 1960 CRA.

        85.      All factual allegations contained in the expert report by Nate Cain the

“Cain Report”) attached hereto as Exhibit 4, are hereby incorporated by reference as

though fully set forth herein. The following allegations are based on the Cain Report

and the research cited and conducted in preparation thereof.

        86.      All 53 Voting Districts destroyed “paper” and “records” that is required

to be retained as various papers came into possession of election officials, pursuant

301 of the 1960 CRA.31 The items destroyed were security envelopes which contained,



31
 Direct documentary evidence of these allegations will be submitted in the supplement to be filed to this
Amended Complaint.


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marked on the face of the envelope a security barcode unique to each ballot inside.

Defendants issued unlawful procedures, policies and special waivers, which denied

Plaintiffs of their constitutional rights intended to be protected through an available

audit of the papers and records relating to the 2020 Federal Election.

         87.   In addition to the foregoing violations of the 1960 CRA, postage marks

are required to be retained as a record to match the security bar code on the envelope

to the address of the ballot to ensure a proper audit trail.

         88.   State Defendants and others acting at the state and local level under

color of state law and as part of their conspiracy with the other Defendants, caused

the execution and application of these unlawful policies and procedures that violated

the 1960 CRA and therefore, violated the integrity of the election process by

eliminating the ability to conduct any meaningful audit of the 2020 Federal Election

papers, records, and other original materials, all of which are necessary for such an

audit.

         89.   In so, defeating the ability for an audit of these original materials, as

prescribed by the 1960 CRA, these acts had the effect of depriving Plaintiffs of their

right to a republican form of government and their other constitutional rights related

to suffrage.

         90.   As will be demonstrated in the supplement to be filed to this Amended

Complaint, in all 53 Voting Districts, the state and local officials responsible for

retaining original papers, records, and materials received and in their possession

related to the 2020 Federal Election, implemented records retention policies in clear




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violation of section 301 of the 1960 CRA, and by thereby acted under color of state

and local law in a manner that willfully deprived Plaintiffs of their right to a

republican form of government and their other constitutional rights related to

suffrage.

      91.    The effect of Defendants’ willful participation in the conspiracy,

perpetrated in concert with private persons and public officials at the state and

federal levels, as well as with Defendants named and to be named, who are engaged

in the industries of media and social media, was to deprive three hundred and twenty-

eight million Americans of their civil rights and the guaranteed Constitutional

Republican form of Government.

      92.    Since 2016, conspirators who willfully participated in the conspiracy at

the state and federal levels, have acted in abuse of their official duties, changing

policies and procedures to the sole benefit of the partisan enterprises with the willful

intent and to deprive three hundred and twenty-eight million Americans of their civil

rights and the guaranteed Constitutional Republican form of Government.

      93.    Defendants engaged in the partisan enterprise known Democratic

National Services, a private corporation, knowingly filed false documents before

Federal and State Courts falsely identifying the DCCC and the DSCC as committees

in charge of day-to-day operations of the Democratic Party.

      94.    For all reasons listed above and yet to be stated, Plaintiffs allege the sole

purpose of Defendants’ conduct was to deprive three hundred and twenty-eight

million Americans, under color of law in flagrant violation of their constitutionally




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protected substantive due process and equal protection rights under the Fourteenth

Amendment related to the right to suffrage and to deprive the People of the

republican form of government guaranteed in the Constitution.

      95.    In addition, by conduct of their actions, Defendants acting under color

of law denied three hundred twenty-eight million Americans of their due process

rights in the conduct of the 2020 Federal Election as protected by the Fourteenth

Amendment and the Fifth Amendment related to suffrage.

   c. First Amendment Allegations

      96.    “In November 2019, Mark Zuckerberg invited nine civil rights leaders to

dinner at his home,” where they discussed and conspired about how to control the

“flow of information” on social media to fit their purpose of the “ouster of [President]

Trump” from office. In conspiracy with other social media CEOs, including Jack

Dorsey, and various persons in the media, including, apparently, Fox News among

others, this “Cabal” of news media, social media, and technology “titans of business”

conspired to “control the flow of information” by suppressing the political views of

Plaintiffs and, in particular their support of particular candidates for Congress and

for President Donald J. Trump. See Secret History (in particular, section under

subheading “The Disinformation Defense”).

      97.    The overt acts in furtherance of this conspiracy were to censor the free

speech of Plaintiffs by placing various “warnings” about “false” content in their posts,

which they had subjectively determined to be “disinformation” based on their




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discriminatory animus against Plaintiffs for their political views and support of

particular candidates.

      98.     Other overt acts taken or caused by Defendant Zuckerberg and his co-

conspirators at Facebook, Instagram, Twitter, and other various social media

platforms, included (1) “shadow banning” Plaintiffs’ posts, (2) placing Plaintiffs’ posts

in an “echo chamber,” where the reach of their posts was limited as compared to other

Americans on social media who shared the political views of the Defendants, (3)

suspending Plaintiffs’ accounts, and (4) involuntarily deleting Plaintiffs accounts

altogether.

      99.     In addition, Defendant Zuckerberg participated in the same concert of

action with the “Cabal” to cast Plaintiffs who exercised their First Amendment right

to peaceably protest at the U.S. Capitol on January 6, 2020 (the “Protest”). The

method of this part of the conspiracy was to focus the attention of the media coverage

and media postss on various bad actors who committed acts of violence at the Protest

and attribute these bad acts to Plaintiffs who will merely peacefully exercising their

protect First Amendment rights.       It was a classic “guilt by association” scheme

designed to paint the Plaintiffs in a false light and stir public outrage against them

for the purpose of interfering with their right of free speech and freedom to peaceably

assemble.

      100.    Furthermore, Defendant Roger Sollenberger, a staff writer at Salon.com

who, as evidenced by his numerous Tweets in the aftermath of the Protest, zealously




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participated in this effort to paint Plaintiffs in a false light to interfere with and

retaliate against them for exercising their First Amendment rights.

      101.   Defendant Sollenberger took his part in the conspiracy even further

when he took the extraordinary step of retaliating against Plaintiffs for exercising

their First Amendment right to petition the government for redress of grievance by

conducting a campaign to spread patent lies and false statements about the nature

of Plaintiffs lawsuit, including claiming multiple times that it was a lawsuit designed

to reinstall Donald Trump as President, which was clearly a tactic in keeping with

the purpose of the Cabal described in Secret History.

      102.   Sollenberger also ran articles in which he slandered or belittled various

filings and components of the lawsuit, including the expert report of Mr. Vanderbol,

a U.S. combat veteran whom Sollenberge attempted to discredit by suggesting Mr.

Vanderbol’s brain injury interferes with his cognitive analytical abilities, which it

does not.

      103.   Mr. Sollenberger’s colleague at Salon.com, Justin Pelofsky, also sent

counsel for Plaintiffs’ multiple emails displaying his clear contempt for Plaintiffs,

including one email in which he strongly suggested that Plaintiffs, who are Blacks

and Latinos, lack the ability to think for themselves and are merely doing the bidding

of the white man, which he suggested was Plaintiffs’ counsel. These emails will be

attached to a future filing in this case, and Mr. Pelofsky will likely be added as a

Defendant.




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       104.   Finally, Mr. Sollenberger teamed up with his lawyer, Anne Champion

to send counsel for Plaintiffs a “cease and desist” letter that appears clearly intended

for the purpose of intimidating counsel for Plaintiffs for asserting Plaintiffs’ rights in

this Lawsuit. The letter contained patently absurd threats based on clearly incorrect

legal theories, which is further evidence that the letter was merely intended as

intimidation. Then, Ms. Champion took the outrageous step of publicly tweeting the

letter, which her client, Mr. Sollenberger, then retweeted with comment.

   d. Specific Failures to Comply with HAVA

       105.   HAVA is a statutory scheme enacted by the 107th Congress to “right

those wrongs” of the 2002 Bush v. Gore and Congressional election debacle where

“four to six million” Americans “never had their votes counted” due to “faulty

machinery,” “wrongful and illegal purges from voter lists,” and “poorly designed

ballots.” 148 Cong. Rec. S10412-02 (Oct. 15, 2002) (statement of Sen. Dodd regarding

final Senate conference report).

       106.   In his speech before Congress regarding the final Senate conference

report, Senator Dodd specifically praised Defendants Mitch McConnell and Chuck

Schumer, for their “tremendous work” on HAVA, and went on to say HAVA was the

“first civil rights legislation of the 21st century.” Id.

       107.   In doing so, Sen. Dodd acknowledged both the purpose of HAVA to

protect our “most fundamental right as American citizens: the right to vote” in the

United States, which he described as a “beacon light of self-government.” Id. Sen.

Dodd’s comments also specifically shows the intent of Defendants Schumer and




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McConnell to deprive Americans of this “most fundamental right” including the right

to “self-government” in their willful participation in the conspiracy to violate

Plaintiffs’ constitutional rights.

       108.   HAVA set forth specific “minimum requirements” with which the

Defendants, as members of state or federal government, or governmental employees,

or elected officials acting under color of law, failed to comply in the conduct of the

2020 Federal Election.

       109.   The minimum requirements in HAVA stipulated specific duties

regarding “mail in ballots,” “registration of voters by mail,” and highly detailed voter

identification processes, and other requirements with which Defendants, as members

of state or federal government, or governmental employees, or elected officials acting

under color of law purposefully or negligently failed to comply.

       110.   Defendants are members of state or federal government, or are

governmental employees, or elected officials acting willfully alongside one another

and/or in concert under color of law, who unlawfully used federal monies tied to

HAVA to change state voting procedures in a manner which failed to meet lawful

requirements defined as “minimum requirements” in HAVA and instead used federal

monies for the purpose of causing all 53 federal Voting Districts to fail to comply with

federal election law.

       111.   Defendants as members of state or federal government, or governmental

employees, or elected officials acting willfully alongside one another and/or in concert

under color of law, engaged in acts of selective enforcement to fraudulently certify




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federal elections as valid, when in fact they were unlawful and failed to meet criteria

set forth in federal law and state law.

      112.     Defendants as members of state or federal government, or governmental

employees, or elected officials acting willfully alongside one another and/or in concert

under color of law, had specific knowledge of administrative requirements due to

HAVA, and willfully failed to implement these requirements.

      113.     Defendants as members of state or federal government, or governmental

employees, or elected officials acting alongside one another and/or in concert under

color of law, by oath have specific duties which they failed to perform, instead willfully

supporting of acts of conspiracy to unlawfully influence a federal election.

      114.     Defendants as members of government, or governmental employees, or

elected officials acting alongside one another and/or in concert under color of law,

after Plaintiffs and other third parties raised concern regarding the possibility of an

unlawful election engaged in acts to destroy evidence, inhibit discovery, and engaged

in fraudulent statements to defend a conspiracy to engage in the conduct described

herein.

      115.     Defendants who are members of U.S. Congress willfully passed the

CARES Act to provide federal money used to modify state procedures for federal

elections in violation of HAVA and then negligently failed to amend HAVA to

accommodate these changes to state procedures for federal elections.

      116.     The foregoing actions of Defendants, many, if not all, willfully acting

alongside one another and/or in concert, resulted in the failure of every election




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conducted in the 53 Voting District to fail to comply with the Electoin Integrity

Safeguards.

        117.     A list of many (but not all) of each State’s specific violations of HAVA is

attached hereto as Exhibit 5.

        118.     There will also be a supplemental filing that will contain additional

exhibits to support the allegations in this Amended Complaint and the same are

incorporated herein by reference as those fully set forth.

                                              V.
                                       CAUSES OF ACTION

     A. COUNT ONE – Conspiracy and conduct to deprive of constitutional
        rights related to suffrage and the right to a republican form of
        government under 42 U.S.C. § 1983.

        119.     Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

        120.     Defendants, which include the federal officials, state officials, and32

private persons named herein, acted under color of state law—the various states’

elections, laws, regulations, procedures, and administration thereof—related to the

2020 Federal Election, as willful participants in a conspiracy consisting of joint

activity with state and local officials, including the state Governors and Secretaries

of State named herein, and acted with each state and voting district, to deprive




32
  The terms “and” and the term “or” are intended throughout this Amended Complaint to be construed in their
broadest use possible as “and/or” or similar, except where such interpretation would not make logical or
grammatical sense or such interpretation would operate to prevent Plaintiffs from stating a claim upon which
relief could be granted.


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Plaintiffs of their various rights, privileges, and/or immunities secured by the

Constitution of the United States.

      121.     These various Constitutional rights include, (1) all substantive due

process rights related to suffrage and casting a vote in a federal election, (2) all equal

protection rights related to the right of suffrage being debased or dilution of the

weight of Plaintiffs’ votes, and (3) deprivation of Plaintiffs’ rights to the republican

form of government guaranteed by Article IV, section 4 of the Constitution.

      122.     At all relevant times, Plaintiffs were acting as private citizens related

to their rights of suffrage and rights to a republican form of government.

      123.     Defendants’ conspiracy and conduct against Plaintiffs would deter a

person of ordinary firmness from continuing to engage in these protected

constitutional rights.

      124.     Plaintiffs’ protected constitutional rights were a substantial and

motivating factor for Defendants’ conspiracy and conduct to deprive them of these

rights.

      125.     Defendants’   decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      126.     Defendants’ conspiracy described herein caused severe damages to

Plaintiffs in depriving them of their Constitutional rights and subjecting them to

suffer the dominion and control of an illegitimate Congress, President, and Vice

President, which enacted Executive Orders, policies, and/or legislation in violation of




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Plaintiffs’ rights to a government whose legitimate acts must be by consent of the

governed, a republican form of government.

       127.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer other severe damages, including mental anguish and emotional suffering.

   B. COUNT TWO – Conspiracy and conduct to deprive of First
      Amendment rights and retaliate for the free exercise thereof under 42
      U.S.C. § 1983.

       128.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

       129.   Defendants acts described herein, including but not limited to,

interfering with and/or retaliating against Plaintiffs for the free exercise of their First

Amendment rights to free speech by “controlling the flow of information” related to

Plaintiffs’ rights to speak about suspected fraud in the 2020 Federal Election and/or

to voice support for a particular political candidate and/or to express a political view

on social media; rights to petition the government for redress of grievances by the

relief sought herein and through verbal acts in protest of the illegitimate Congress

counting the Electoral College votes on January 6, 2021 whether at the Capitol in

person or on social media, and their rights to peaceably assemble in protest.

       130.   Defendants conspiracy and conduct in violation of Plaintiffs’ First

Amendment rights also specifically includes the acts of Roger Sollenberger in concert

with his various colleagues at Salon.com, including but not limited to Justin Pelofsky,

in retaliation against Plaintiffs for exercising their rights to petition the government

for redress of their grievances in this Lawsuit. Such conspiracy and conduct included




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spreading objectively and patently false statements publicly about the Lawsuit and

conducting an intimidation campaign against Plaintiffs’ counsel in this matter for

attempting to enforce Plaintiffs’ constitutional rights before this Court.

      131.   At all relevant times, Plaintiffs were acting as private citizens related

to matters of public concern.

      132.   Defendants’ acts against Plaintiffs would deter a person of ordinary

firmness from continuing to engage in their protected First Amendment rights.

      133.   Plaintiffs’ protected First Amendment rights were a substantial and

motivating factor for Defendants’ conduct to deprive them of their rights.

      134.   Defendants’    decision    to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      135.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.

   C. COUNT THREE Conspiracy to interfere with constitutional rights
      under 42 U.S.C. § 1985.

      136.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

      137.   By the conduct described in the foregoing paragraphs, Defendants

conspired together, whether directly or indirectly, for the purpose of depriving

Plaintiffs of their constitutional rights related to their substantive due process rights

to suffrage and related equal protection rights, their rights to a republican form of

government, and their various rights under the First Amendment.




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      138.   Defendants’ conspiracy was also for the purpose of depriving Plaintiffs

of their rights to give “support or advocacy in a legal manner toward or in favor of the

election of one or more lawfully qualified persons a an elector for President or Vice

President, or as a Member of Congress of the United States.” § 1985(3).

      139.   Defendants’ conspiracy was also for the purpose of retaliating against

Plaintiffs from exercising all of the above constitutional rights.

      140.   Defendants’ conspiracy was motivated by class-based invidious

discriminatory animus based on Plaintiffs race, color, political group, political view,

or support of one or more particular candidates for office.

      141.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.

   D. COUNT FOUR - Action for neglect to prevent under 42 U.S.C. § 1986.

      142.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

      143.   Defendants had knowledge of the conspiracy and conduct to be done, as

set forth above, had the power to prevent or aid in preventing the commission of the

same, and neglected or refused so to do, resulting in the deprivation of Plaintiffs’

various constitutional rights set forth herein.




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        144.     Plaintiffs suffered severe damages by Defendants’ failure to prevent or

aid in preventing the deprivation of their constitutional rights, including33 mental

anguish and emotional suffering.

     E. COUNT FIVE - Bivens claim for conspiracy and/or conduct to deprive
        of constitutional rights related to suffrage and the right to a
        republican form of government

        145.     Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

        146.     Defendants, which include the federal officials and private persons

named herein, acted under color of state law—the various states’ elections, laws,

regulations, procedures, and administration thereof—related to the 2020 Federal

Election, as willful participants in a conspiracy consisting of joint activity with state

and local officials, including the state Governors and Secretaries of State named

herein, and acted with each state and voting district, to deprive Plaintiffs of their

various rights, privileges, and/or immunities secured by the Constitution of the

United States.

        147.     These various Constitutional rights include, (1) all substantive due

process rights related to suffrage and casting a vote in a federal election, (2) all equal

protection rights related to the right of suffrage being debased or dilution of the

weight of Plaintiffs’ votes, and (3) deprivation of Plaintiffs’ rights to the republican

form of government guaranteed by Article IV, section 4 of the Constitution.



33
   The term “including” shall always be read in this Amended Complaint to mean “Including but not limited to”
unless such meaning does not make logical or grammatical sense in context or would result in a failure to state a
claim upon which relief could be granted.


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      148.     At all relevant times, Plaintiffs were acting as private citizens related

to their rights of suffrage and rights to a republican form of government.

      149.     Defendants’ conspiracy and conduct against Plaintiffs would deter a

person of ordinary firmness from continuing to engage in these protected

constitutional rights.

      150.     Plaintiffs’ protected constitutional rights were a substantial and

motivating factor for Defendants’ conspiracy and conduct to deprive them of their

rights.

      151.     Defendants’   decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      152.     Defendants’ conspiracy and conduct violated Plaintiffs’ clearly

established constitutional rights according to the standards set forth in relevant case

law relating to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,

403 U.S. 388 (1971)

      153.     Defendants’ conspiracy and conduct described herein caused severe

damages to Plaintiffs by depriving them of their Constitutional rights and subjecting

them to suffer the dominion and control of an illegitimate Congress, President, and

Vice President, which enacted Executive Orders, policies, and/or legislation in

violation of Plaintiffs’ rights to a government whose legitimate acts must be by

consent of the governed, a republican form of government.

      154.     Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.




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   F. COUNT SIX - Bivens claim for conspiracy and/or conduct to deprive
      of First Amendment rights.

       155.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

       156.   Defendants acts described herein, including but not limited to,

interfering with and/or retaliating against Plaintiffs for the free exercise of their First

Amendment rights to free speech by “controlling the flow of information” related to

Plaintiffs’ rights to speak about suspected fraud in the 2020 Federal Election and/or

to voice support for a particular political candidate and/or to express a political view

on social media; rights to petition the government for redress of grievances by the

relief sought herein and through verbal acts in protest of the illegitimate Congress

counting the Electoral College votes on January 6, 2021 whether at the Capitol in

person or on social media, and their rights to peaceably assemble in protest.

       157.   At all relevant times, Plaintiffs were acting as private citizens related

to matters of public concern.

       158.   Defendants acts against Plaintiffs would deter a person of ordinary

firmness from continuing to engage in their protected First Amendment rights.

       159.   Plaintiffs’ protected First Amendment rights were a substantial and

motivating factor for Defendants’ conduct to deprive them of their rights.

       160.   Defendants’    decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

       161.   Defendants’ conspiracy and conduct violated Plaintiffs’ clearly

established constitutional rights according to the standards set forth in relevant case



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law relating to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,

403 U.S. 388 (1971)

      162.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.



   G. COUNT SEVEN – Deprivation of equal rights under the law pursuant
      to 42 U.S.C. § 1981.

      163.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

      164.   Those Plaintiffs who are Blacks and Latinos allege that the conduct of

Defendants described herein was motivated by racial discrimination against them

and was for the purpose of depriving them of, interfering with, or retaliating against

them for the exercise of their rights to sue, be parties, give evidence, and to the full

and equal benefit of all laws and proceedings for the security and property as is

enjoyed by white citizens, including Mike Podhorzer and all white persons who helped

form and propagate his Cabal.

      165.   Those Plaintiffs who are white persons allege the same as against all

white Defendants pursuant to the Supreme Court case of McDonald v. Sante Fe Trail

Transportation Co., 427 U.S. 274 (1976). See also Saint Francis Coll. v. Al-Khazraji,

481 U.S. 604, 609 (1987) (McDonald “held that white persons could maintain a § 1981

suit . . . by one Caucasian against another”).

      166.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.



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                                       VI.
                                  CLASS ACTION

      167.   Plaintiffs hereby incorporates the allegations in the foregoing

paragraphs as though fully set forth herein.

      168.   Plaintiffs will soon file a motion for class action certification pursuant to

Fed. R. Civ. P. 26 making the following allegations.

      169.   There are one or more a definable classes of persons injured by the

conduct of Defendants. One such class would include all persons who voted in the

2020 Federal Elections. Another such class or classes may include all persons against

whom Defendants conspired to deprive of various First Amendment rights or against

whom they acted in retaliation for the exercise thereof.

      170.   The classes to be certified are so numerous that joinder of all members

is impracticable. Indeed over 150 million Americans voted in the 2020 Federal

Elections. The number of potential class members whose First Amendment rights

were violated by Defendants’ conspiracy and conduct is likely so numerous that it

cannot reasonably be estimated.      There are at least 75 million Americans who

supported Donald Trump and were likely victims of Defendants conduct, as described

herein and in Secret History.

      171.   The questions of law and fact are common to each putative class since

the class members have suffered the same injuries by the same or similar conduct of

the Defendants.

      172.   The putative classes have claims that are typical of all class members.




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      173.   Plaintiffs,   as   members      of   the   various    proposed   classes,    are

representatives with interests that are common to the classes and will fairly and

adequately protect the interests of the putative classes. There is no conflict of interest

between Plaintiffs and the members of the putative classes.

      174.    Despite the media spin and criticism, Plaintiffs’ undersigned lead

counsel has over 10 years of relevant and extensive experience in the issues

concerning this Lawsuit. Such experience includes litigating multiple federal court

class and collective actions in the areas of employment law, complex commercial, and

complex chapter 11 bankruptcy litigation as an associate and later senior counsel for

two large national law firms over an 8-year span. Lead counsel gained additional

valuable first-chair courtroom and litigation experience as an associate in a boutique

commercial litigation for roughly 18 months before returning to large-firm practice.

      175.   The practice of employment law is, in large part, the practice of civil

rights and constitutional rights. Counsel’s experience has included mostly outside

counsel work but also includes, as is certainly well-known by now, in-house

employment law counsel and human resource management for a workforce of over

1,000 employees.

      176.   Counsel’s     experience   in    researching    and    analyzing    issues    of

constitutional law dates back to law school at The University of Texas at Austin,

where he was associate and later senior editor for the Texas Review of the Law and

Politics, which regularly publishes scholarly articles on such issues. Counsel also has

been mentored extensively by various litigators and appellate lawyers in these fields




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with many years of experience. Said counsel has been lead counsel or has effectively

acted as lead counsel on multiple complex federal court lawsuits including class or

collective actions.

       177.   Plaintiffs’ co-counsel adds many years of valuable first-chair courtroom

and trial experience as a long-time state court prosecutor, eventually opening her

own practice where she continued such experience. Co-counsel brings extremely

valuable evidentiary analysis, legal analysis, litigation management, courtroom

skills, and various other valuable skills to Plaintiffs’ legal team. Both attorneys have

done extensive work gathering evidence, conducting legal research, and legal analysis

in an extraordinarily small time of a few weeks, doing what would normally take a

small army of attorneys to accomplish. Counsel is confident that they will be able to

recruit more than enough other attorneys to assist them with this lawsuit going

forward.

                            VII.
 APPLICATION FOR INJUNCTIVE RELIEF, INCLUDING A TEMPORARY
RESTRAINING ORDER, PRELIMINARY INJUNCTION, AND PERMANENT
                       INJUNCTION

   A. Plaintiffs’ Desperate Plea Calling on the Courage of This Court.

       178.   Plaintiffs hereby incorporates the allegations in the foregoing

paragraphs as though fully set forth herein.

       179.   Plaintiffs’ Second Amended Motion for Temporary Restraining Order

(the “Motion”) shall be filed separately. The Motion is amended to accommodate a

substantial amount of new supporting evidence, much of which is attach to this

Amended Complaint.



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     B. Grounds for Restraining Order and Preliminary Injunction.

        180.     Plaintiffs will request issuance of summons and practicable methods of

service for the Defendants, though service of each Defendant is likely not practicable

prior to the time within which a Temporary Restraining Order should be granted,

since the federal officials named in and affected by the relief requested in this lawsuit

continue to take dramatic action to drastically change the policies and laws of this

country in violation of Plaintiffs’ and the putative class members34 constitutional

rights. Accordingly Plaintiffs request a temporary restraining order with notice or,

alternatively, without notice to Defendants.

        181.     The factual allegations and legal and equitable grounds for relief and

arguments contained in Plaintiffs’ various versions of and supplemental filings

related to their requests and application for a temporary restraining order and

preliminary and permanent injunctive relief, (Docs. 1, 2, 5, 6, 7, 8, and 10), including

the related proposed forms of orders, are hereby incorporated by reference into this

Section VII, Plaintiffs’ Application for Injunctive Relief and into Section IV, the

Statement of Facts, as though fully set forth herein and therein, respectively as part

of Plaintiff’s application for injunctive relief.

                                           VIII.
                                   ATTORNEY FEES & COSTS

        182.     Plaintiff are entitled to an award of attorney fees and costs under 42

U.S.C. § 1988(b) and hereby plead for the same.

                                                      IX.

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 Throughout this Amended Complaint, the term “Plaintiffs” shall include all putative and potential class members,
which includes at least 150 million Americans.


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                                PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, upon jury trial of this matter, plead for judgment against

Defendants for the following:

   a. Permanent injunctive relief in the form of a new federal election for both
      Congress and the President and Vice President.

   b. Permanent injunctive relief forever restraining Defendants from participating
      in any action relating to the process of electing public officials, other than
      casting their own lawful vote as a citizen of the United States, or at least
      restraining Defendants from such participation in the new federal election to
      be ordered after trial on the merits,

   c. Permanent injunctive relief forever restraining Defendants from violating
      Plaintiffs constitutional rights described herein,

   d. General Damages in an amount to be determined at the time of trial;

   e. Punitive Damages in an amount to be determined at the time of trial;

   f. Reasonable attorneys fees’ and costs of suit;

   g. Prejudgment and postjudgment interest.

And all other general and special relief, whether at law or in equity as the Court may

deem necessary or proper to which the Plaintiffs may be justly entitled.

Respectfully submitted to the Honorable Court this 10th day of February, 2021.



                                       /s/ Paul M. Davis
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